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1    LAWRENCE G. BROWN
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     Assistant U.S. Attorney
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     Sacramento, California 95814
4    Telephone: (916) 554-2797
5
6
7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    CR. S-08-0392-GEB
12             Plaintiff,              )
                                       )   STIPULATION AND [PROPOSED] ORDER
13                                     )   CONTINUING STATUS CONFERENCE AND
          v.                           )   EXCLUDING TIME
14                                     )
     JORGE ALBERT REYES, et al.,       )
15                                     )
               Defendants.             )    Hon. Garland E. Burrell
16                                     )
17
18        The parties request that the status conference currently set
19   for March 20, 2009, be continued to April 10, 2009, and stipulate
20   that the time beginning March 20, 2009, and extending through
21   April 10, 2009, should be excluded from the calculation of time
22   under the Speedy Trial Act.     The parties submit that the ends of
23   justice are served by the Court excluding such time, so that
24   counsel for each defendant may have reasonable time necessary for
25   effective preparation, taking into account the exercise of due
26   diligence.    18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.
27        The parties are in the process of discussing and negotiating
28   the various plea offers in this case.       Each defendant will need

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1    time to consider his or her offer in light of the discovery.           As
2    such, the attorneys for each defendant need more time to review
3    the discovery in this case, discuss that discovery with their
4    respective clients, consider new evidence that may affect the
5    disposition of this case, conduct necessary legal research and
6    investigation, and then discuss with their clients how to
7    proceed.   The parties stipulate and agree that the interests of
8    justice served by granting this continuance outweigh the best
9    interests of the public and the defendants in a speedy trial.           18
10   U.S.C. § 3161(h)(8)(A).
11                                           Respectfully Submitted,
12                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
13
14   Dated: March 19, 2009               By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
15                                          Assistant U.S. Attorney
16
     Dated: March 19, 2009               By:/s/ Matthew C. Bockmon
17                                          MATTHEW C. BOCKMON
                                            Attorney for defendant
18                                          Adam Pablo Reyes
19
     Dated: March 19, 2009               By:/s/ Michael A. Brush
20                                          MICHAEL A. BRUSH
                                            Attorney for defendant
21                                          Juan Gabriel Alvarez
22
     Dated: March 19, 2009               By:/s/ Clarence Emmett Mahle
23                                          CLARENCE EMMETT MAHLE
                                            Attorney for defendant
24                                          Juan Abarca-Catalan
25
     Dated: March 19, 2009               By:/s/ Michael L. Chastaine
26                                          MICHAEL L. CHASTAINE
                                            Attorney for defendant
27                                          David Reyes Navarro
28

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1    Dated: March 19, 2009               By:/s/ Steven D. Bauer
                                            STEVEN D. BAUER
2                                           Attorney for defendant
                                            Keoudone Noy Phaouthoum
3
4    Dated: March 19, 2009               By:/s/ Carl E. Larson
                                            CARL E. LARSON
5                                           Attorney for defendant
                                            Khamsou Sida
6
7    Dated: March 19, 2009               By:/s/ Evans D. Prieston
                                            EVANS D. PRIESTON
8                                           Attorney for defendant
                                            Victor Alfonso Ceja
9
     Dated: March 19, 2009               By:/s/ Danny D. Brace, Jr.
10                                          DANNY D. BRACE, JR.
                                            Attorney for defendant
11                                          Ruben Anthony Olsen
12   Dated: March 19, 2009               By:/s/ Scott L. Tedmon
                                            SCOTT L. TEDMON
13                                          Attorney for defendant
                                            Majid Bajmanlo
14
     Dated: March 19, 2009               By:/s/ Julie H. Raridan
15                                          JULIE H. RARIDAN
                                            Attorney for defendant
16                                          Juan Madrigal Rizo
17   Dated: March 19, 2009               By:/s/ William E. Bonham
                                            WILLIAM E. BONHAM
18                                          Attorney for defendant
                                            Thomas Jesse Garcia
19
     Dated: March 19, 2009               By:/s/ Scott N. Cameron
20                                          SCOTT N. CAMERON
                                            Attorney for defendant
21                                          Sarah Leanne Lancaster
22   Dated: March 19, 2009               By:/s/ Daniel M. Davis
                                            DANIEL M. DAVIS
23                                          Attorney for defendant
                                            Ashley Rhymer
24
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1                                         ORDER
2         For the reasons stated above, the status conference in case
3    number CR. S-08-0392-GEB, currently set for March 20, 2009, is
4    continued to April 10, 2009; and the time beginning March 20,
5    2009, and extending through April 10, 2009, is excluded from the
6    calculation of time under the Speedy Trial Act for effective
7    defense preparation.       The Court finds that interests of justice
8    served by granting this continuance outweigh the best interests
9    of the public and the defendants in a speedy trial.             18 U.S.C. §
10   3161(h)(8)(A) and (B)(iv).
11
12   IT IS SO ORDERED.
13   Dated:     March 19, 2009
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15                                     GARLAND E. BURRELL, JR.
16                                     United States District Judge

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